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 5
     Attorney for Defendant
     MELISSSA TORRES
 6
                          IN THE UNITED STATES MAGISTRATE COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      ) No. CR-S-14-097 MCE
                                                    )
10
                                                    )
            Plaintiff,                              ) STIPULATION AND PROPOSED ORDER
11
                                                    ) MODIFYING CONDITIONS OF RELEASE
     v.                                             )
12
                                                    )
     MELISSA TORRES,                                )
13
                                                    )
                                                    )
14          Defendant.                              )
                                                    )
15
                                                    )
                                                    )
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18          Melissa Torres, by and through her attorney, John R. Manning, Esq., and the United
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     States of America, by and through its counsel, Christiaan Highsmith, and Pretrial Services,
20
     hereby jointly agree and stipulate to amend and modify defendant’s special condition number 10
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22
     as follows:

23           “You shall refrain from excessive use of alcohol or any use of a narcotic drug or other
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     controlled substance without a prescription by a licensed medical practitioner; and you shall
25
     notify Pretrial Services immediately of any prescribed medication(s). However, medicinal
26
     marijuana, prescribed or not, may not be used.”
27

28          The parties request the language presently contained in defendant’s special condition

     number 10 (“You shall refrain from ANY use of alcohol or any use of a narcotic drug or other
                                                     1
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     controlled substance without a prescription by a licensed medical practitioner; and you shall
 1

 2   notify Pretrial Services immediately of any prescribed medication(s). However, medicinal

 3   marijuana, prescribed or not, may not be used”) be struck and replaced by the requested
 4
     modification.
 5
            Accordingly, all parties and Ms. Torres agree with the proposed modification(s)
 6

 7
     articulated herein.

 8                                                Respectfully submitted,
 9   Dated: July 7, 2015                          /s/ John R. Manning           ____
                                                  JOHN R. MANNING
10
                                                  Attorney for Defendant
11                                                Melissa Torres

12
     Dated: July 7, 2015                          /s/ Christiaan Highsmith ____
13
                                                  CHRISTIANN HIGHSMITH
14                                                Assistant U.S. Attorney

15   IT IS SO ORDERED.
16

17   Dated: July 7, 2015
                                                     _____________________________________
18                                                   CAROLYN K. DELANEY
19
                                                     UNITED STATES MAGISTRATE JUDGE

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